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                                                                                   July 15,2019


Hon. Anthony J. Trenga
United States District Court
Eastern District of Virginia
Albert V. Bryan U.S. Courthouse
401 Courthouse Square
Alexandria, VA 22314



                      Re: U.S. v. Derrick Vincent Redd, 97-cr-00006-JCC-l


Dear Judge Trenga:

        I write on behalf of Derrick Vincent Redd to update you about events in the above-
captioned case.

        On December 28, 2016, I sent a letter to former United States Attorney Dana Boente
about Redd, who is currently serving a 603-month (just over 50 years) term based upon his
involvement in a string of bank robberies in the fall of 1996. In my 2016 letter I asked Mr.
Boente to agree to an order vacating two of Redd's convictions under 18 U.S.C. § 924(c), which
would empower the Court to impose a more just sentence. Today I write to inform you that I
have sent a follow-up letter to G. Zachary Terwilliger in light of the enactment of the First Step
Act in December of last year. A copy of the letter is attached.
        As you know, the First Step Act, signed into law by the President on December 21, 2018,
finally ended the use of § 924(c) counts to which Redd was subjected. Never again will a federal
defendant facing his first § 924(c) charge be subjected to the onerous, enhanced mandatory
consecutive sentences for his "second or successive" § 924(c) charges in the same case. This
change was expressly described by Congress as a clarification of § 924(c), making it clear that
century-long sentences like the one imposed on Redd were never intended by Congress.
         My letters to the United States Attorneys speak for themselves, but 1 want to emphasize
the enormity of the penalty Rddd paid for exercising his right to trial in this case. At the very
least, it cost him 20 years in prison — the additional § 924(c) charge he had to face because he
sought to withdraw his plea of guilty to one of the § 924(c)counts.
        Redd has worked hard to improve his life while in prison, and has virtually no
 disciplinary record. It is for this reason, among others, that Redd is one of a small number of


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